Case 3:12-cr-00154-SCC-BJM   Document 576    Filed 03/25/13   Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                         CRIMINAL 12-0154CCC
 1) JOSE RIVERA-DIDES
 2) JORGE OMAR VICENTY-MELENDEZ
 3) REY GONZALEZ
 4) EDWIN MARIN-MARTINEZ
 5) ALEJANDRO ROSARIO-RIVERA
 6) GERMAN MORALES-COLON
 7) MIGUEL PEREZ-RIVERA
 8) JOSUE ROSARIO-RESTO
 9) JONATHAN RIVERA-MEDINA
 10) LUIS E. ACEVEDO-OQUENDO
 11) LUIS J. ACEVEDO-OQUENDO
 12) JUAN ALVARADO-HERNANDEZ
 13) GAMALIER RODRIGUEZ-TAÑON
 14) RAFAEL MARIN
 15) CARLOS A. DE JESUS-CUEVAS
 16) WILLIAM RIVERA-RODRIGUEZ
 17) JONATHAN GONZALEZ-COLON
 18) WILFREDO RODRIGUEZ-RIVERA
 19) RAUL MARIN-MARTINEZ
 20) JUAN DAVID MARIN-MARTINEZ
 21) GIOVANNI GONZALEZ-TORRES
 22) JOSE BAEZ-LEON
 23) AVIDAEL HERNANDEZ-AGOSTO
 24) FERNANDO SUAREZ-LAFONTAINE
 25) JONATHAN GONZALEZ-MEDINA
 26) JOAN SERRANO-RODRIGUEZ
 27) FELIPE MAS-QUILES
 28) JOSE MEDINA-GRAU
 29) CARLOS FELICIANO-GONZALEZ
 30) EMANUEL PAGAN-COLLAZO
 31) MICHELLE RODRIGUEZ-RIVERA
 32) ALEX DE JESUS-CAQUIAS
 33) MARIO RIVERA-DIDES
 34) JORGE L. PAGAN-COLLAZO
 35) JORGE L. NEGRON-CASTELLANO
 36) CALIXTO RIVERA-MONTERO
 37) SIGFREDO DE JESUS-RODRIGUEZ
 38) JOSE GIOVANNI RIVERA
 39) JAVIER DE JESUS-GONZALEZ
Case 3:12-cr-00154-SCC-BJM        Document 576      Filed 03/25/13   Page 2 of 2



CRIMINAL 12-0154CCC                         2


 40) GABRIEL SOTO
 41) ALEX ARROYO-RAMOS
 Defendants



                                         ORDER

      Having considered the Report and Recommendation filed on February 28, 2013
(docket entry 528) on a Rule 11 proceeding of defendant Avidael Hernández-Agosto (23)
held before U.S. Magistrate Judge Marcos E. López on February 25, 2013, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant is accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since February 25, 2013. The sentencing hearing is set for May 23,
2013 at 4:30 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on March 25, 2013.




                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
